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From:          Stephen Paschke <paskperfect@yahoo.com>
To:            starr_quon@hid.uscourts.gov, kobayashi_orders@hid.uscourts.gov
Date:          01/22/2019 03:35 PM
Subject:       request for exception to 'no camera' rule of court



To: Judge and Clerk(s)

RE: In hearing the matter of Case 17-00101 LEK, U.S. vs. Anthony Williams,

  I, the director for On Second Thought TV (O.S.T.), Stephen Paschke, requesting on behalf of
William Wagener, producer of O.S.T. a audio/video/media camera in the a fore mentioned case,
scheduled for February 25th, 2019.

  This request is made under 1st amendment freedom of press. The ninth district Federal
Appeals Court in California already has on its web site video of cases that they hear. So, our
request to accurately videotape this case of defendant Anthony Williams in the interest of the
public and the first amendment right of freedom of press should be granted.

   Courts are to be transparent, not opaque. The people have an interest in this case, which
appears to be a case of first impression and uniquely presenting a lone individual and mother
attempting to keep innocent home owners from losing their home for a fee less than the original
mortgage.

  Because it is now obvious that there is massive fraud in the securitization of home mortgages
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and a system beyond the comprehension of most, if not all, home owners, it is imperative that the
thousands of people interested in Anthony William's method of stopping the fraud intrinsic to the
mortgage foreclosure and the millions of home owners yet to be de-frauded that a small
television camera capture this case with audio and video.

   Time is of the essence. O.S.T. and Mr. Wagener have taped in many courts over the past 19
years. and without any issues and it has always been to enlighten the public and diminish Star
Chambered proceedings. We champion neither the prosecutor, nor the defendant. This is an
important case and "We The People" have an unfettered right to see and hear both the presented
facts and demeanor of both the court's officers and defendant and witnesses, to see that justice is
real and the law applied fairly.

  There is no courtroom in Hawaii or any of the other 49 states that could hold the thousands of
people who are interested in this case. Therefore William Wagener, and Stephen Paschke,
humbly require and request that this court grant within ten days a written approval of
audio/video camera operated by Stephen Paschke or designated cameraman to record in this
aforementioned case beginning February 25 to the end.


Stephen Paschke, O.S.T. Director,
(805)349-0083

William Wagener, Producer
(805)928-1100

CC:
Molly Dwyer, Clerk of Court
Office of the Clerk
U.S. Court of Appeals for the Ninth Circuit
P.O. Box 193939
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